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                                                                                                             E-FILED
                                                                           Friday, 01 April, 2016 03:01:31 PM
                                                                                Clerk, U.S. District Court, ILCD


                    IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL
                         CIRCUIT OF ILLINOIS, ADAMS COUNTY


BECKY NEWKIRK,
                                                                          Ji
                                  Plaintiff,                                                       NOV l&Z0 15

                                                                   No. 15-L- f5 1
                         vs,
                                                                                              fcfc. 01 jbuxksXMfouiL
                                                                                                 lUIWig, ADAMB CO.
JASAN, LLC, a Delaware Limited Liability
Company; ROSEFF, LLC, a Delaware Limited
Liability Company; and CVS Pharmacy, Inc.,
a Rhode Island Corporation,

                                  Defendants.    '                 Jury Trial Demanded

                                                COMPLAINT


        NOW       COMES        the Plaintiff,   BECKY      NEWKIRK,      by her       attorneys,    GOEHL,

                                                                                       t
SCHUERING, CASSENS, & BIER, in the person of Donald R. Schuering, and for her Complain

                                                                     states as
against Defendants, JASAN, LLC; ROSEFF, LLC; AND CVS PHARMACY, INC.,

follows:                                                     '


                                    JURISDICTION AND VENUE


            1.    At all times relevant to this action, Plaintiff, Becky Newkirk, was and is a resident

of Quincy, Adams County, Illinois.

            2.    Defendant, Jasan, LLC, is a Delaware limited liability company, and owns a 50%

interest in the real estate located at 436 N. 30th Sti;eet/3001 Broadway, Quincy, Adams County,

Illinois.                            .                               '


            3.     Defendant, Roseff, LLC, is a Delaware limited liability company, and owns a 50%

interest in the real estate located at 436 N. 30l11 Street/3001 Broadway, Quincy, Adams County,

                                                       •                          -       -
Illinois.




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                                                           e Island corporation authorized to do
      ' 4.         Defendant, CVS Pharmacy, Inc., is a Rhod

                                                          lishment at 436 N. SO111 Street/3001
business in the State of Illinois, and owns a retail estab
                                                                         .
Broadway, Quincy, Adams County, Ulihois.

                                                                    ant to 735 ILCS 5/2-101, because
        5.         Venue is proper in Adams County, Illinois, pursu

                                                                            ty, Illinois;
                                       LLC, own real property in Adams Coun
the Defendants, Jasan, LLC and Roseff,

                                                                                                in
                                             to do business in Illinois and operates a business
Defendant, CVS Pharmacy, Inc., is authorized

                                             occurrence giving rise to this cause of action
Adams County, Illinois; and the incident and
                                                                                 "i


                                                                                       Jasan,
                                             red on real property owned by Defendants,
occurred in Adams County, Illinois and occur

                                          dant, CVS Pharmacy, Inc. operates it business.
LLC and Roseff, LLC, and upon which Defen

                                                        NDANTS
                       CAUSE OF ACTION AGAINST ALL DEFE
                                                          )
                           (NEGLIGENCE/PREMISES LIABILITY

                                                              ely 2:00 p.m., Plaintiff, Becky
         6.        On or about February 6, 2015, at approximat

                                                       30th Street/3001 Broadway, Quincy,
Newkirk, was walking from the parking lot at 436 North
                                                     to enter into the CVS Pharmacy at that location.
Illinois (tire "Premises") to the sidewalk preparing

                                                                     ed up onto the curb and onto an
         7.        When Plaintiffreached the sidewalk/curb, she stepp

                                             of the curbing and walkway, causing Plaintiffs
uneven, broken, crushed, and damaged segment

                                            ng Plaintiff to fall.            .
foot to become lodged and caught, and causi

                                                                     e, possession and control of the
         8.        In the course of ownership, operation, maintenanc

                                               the public, including the Plaintiff, to enter said
Premises, the Defendants invited customers and

                                                les, and shopping at the CVS store.
Premises for the puipose of parking their vehic

                                                                 pursuant to said invitation, as a
         9.        The Plaintiff was lawfully upon the Premises,

                                                                    •                                   '
 customer intending to shop at the CVS store,

                                                               care to avoid causing injury to
          10.      Defendants owed a duty to exercise ordinary


 Plaintiff.

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        11.       At all times relevant herein, the Plaintiff was in the exercise of ordinary care and


caution for her own safety,              •


        12.       At the time and place referred to above, Defendants breached its duty to Plaintiff by


committing one or more of the following acts or omissions of negligence:

              •   a.     Defendants failed to maintain the premises in a reasonably safe maimer so
        as to avoid tire injury to the Plaintiff.                                         .


                  b.   The damaged portion of the curbing and walkway constituted an
        unreasonably safe condition and although Defendants knew, or should have brown, of the
        condition, Defendants failed to take the appropriate steps to make the condition safe.


                  c.     Defendants failed to warn Plaintiff of the condition;

                  d.     Defendants failed to maintaiir a reasonably safe means of passage for its
        customers.                                                                .



        13.       As a direct and proximate result of one or more of tire foregoing acts of negligence


of Defendants, Plaintiff (a) was caused to suffer severe, pennanent and disfiguring injuries,

internally and externally, which have caused and will continue to cause her pain in body and mind;

and (b) was caused to expend, and will be compelled to expend in the future, large sums of money

for medical care for the treatment of said injuries,


        WHEREFORE, Plaintiff, BECKY NEWKIRK, prays for judgment against Defendants, ,

JASAN, LLC; ROSEFF, LLC; AND CVS PHARMACY, INC, in a sum that is fair and

reasonable and in excess of fifty thousand dollars ($50,000.00), for prejudgment interest, for the

costs herein incurred and for such other and further relief as the court deems just and proper under

                                                                                                   '
the circumstances.




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                                               Respectfully Submitted, .


                                               BECKY NEWKIRK, Plaintiff


                                               BY GOEHL, SCHUERING, CASSENS & BIER
                                               their attorneys ' '




                                                       One of their attorneys




                                           VERIFICATION

                                                                          ILCS 5/1-109, certifies that
        The undersigned, under penalties as provided pursuant to 735
                                                                    and circumstances of the incident
she is the Plaintiff herein, and as such is familiar with the facts
                                                                      ions set forth in this Complaint
alleged herein, and further certifies that the statements and allegat
                                                                     as to matters therein stated to be
and those allegations deemed alleged are true and correct, except
                                                                        certifies as aforesaid that she
on information and belief, and as to such matters, the undersigned
verily believes the same to be true.



       Date: November /           2015
                                                            fecky Newlcirk



        Subscribed and sworn to before me this             day of November, 2015,



                                                        7 niMxA p J .                   nt, A'/r\J
                                                               Notdry Public


                                                                      OFFICIAL SEAL
                                                                   CHRISTINE F. INMAN
Donald R. Schuering                                          NOTARY PUBLIC - STATE OF ILLINOIS
GOEHL, SCHUERING, CASSENS & BIER                            MY COMMISSION EXPIRES OCT. 10. 2013

506 Vennont St.           '
Quincy, IL 62301
Telephone: (217) 224-2555
Fax:(217) 224-2569     '               -
E-Mail Address; drs@gsclawnet.com
    • Attorney for- Plaintiff




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                  IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL |J
                        CIRCUIT OF ILLINOIS, ADAMS COUNTY
                                                                                       NOV 1 92015
BECKY NEWKIRIC,
                                                                                            ^uxkcorrdmt/l
                              Plaintiff,
                                                                                      'U.fNOf8, ADAMS 00.

                      vs.
                                                                No. 15-L- ^ /

JASAN, LLC, a Delaware Limited Liability
Company; ROSEFF, LLC, a Delaware Limited
Liability Company; and CVS Pharmacy, Inc.,
a Rhode Island Corporation,      .


                              Defendants.                       Jury Trial Demanded



                                           JURY DEMAND

                                                                             t to 735 ILCS
       NOW COMES Plaintiff, by and through her counsel of record, and pursuan

5/2-1 105(a) hereby demand a trial by jury.

                                              Respectfully submitted,


                                              BECKY NEWKIRK, Plaintiff
                                              BY GOEHL, SCHUERING, CASSENS 8c BIER
                                              their attorneys



                                              Per
                                                     One ofher attorneys




Donald R. Schuering
GOEHL, SCHUERING, CASSENS &.BIER
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¦Pax: (217) 224-2569
E-Mail Address: drs@gsclawnet.com
       Attorney for Plaintiff




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                                                                                                   *rf

STATE OF ILLINOIS                                          )
                                                           )SS
COUNTY OF ADAMS                                            )
                                                                                                     NOV 1 9 2015

                    IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL
                             CIRCUIT OF ILLINOIS, ADAMS COUNTY                                 t&H !)?,
                                                                                                   Ctrt Omfl C«ul tfi Jufeef CtmC
                                                                                                   ILLINOIS, AOAMBCQ.
BECKY NEWKIRK,

                                    Plaintiff,


                          vs.                                                No. 15   "L"5/
JASAN, LLC, a Delaware Limited Liability
Company; ROSEFF, .LLC, a Delaware Limited
Liability Company; and CVS Phannacy, Inc.,
a Rhode Island Corporation,

                                    Defendants.                              Jury Trial Demanded



                                                       AFFIDAVIT


       This affidavit is made pursuant to Supreme Court Rule 222(b).                     Under the penalties of

                                                                     the undersigned hereby
perjury as provided by Section 1-109 of the Code of Civil Procedure,

                                                                  exceed fifty thousand dollars
certifies that the money damages sought by Plaintiffs herein does


($50,000.00).

        Dated this /            day of               /f?                , 2015



                                                                    Donald R. Schuering




        Subscribed and sworn to before me this /                             day of                        , 2015.
                    OFFICIAL SEAL                >
             ¦    CHRISTINE F. INMAN             ;                             L -
          NOTARY PUBLIC • STATE OT iLMHCU- ^
         MY COMMISSION EXPIRES OCT. irt. '--'f' i
                                                                        fJATjur^J- lZ.J/nrWJ4/\ /
                                                                             Notafy Public
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                                     Respectfully submitted,


                                     BECKY NEWKIRK, Plaintiff        ¦
                                     BY GOEHL, SCHUERING, CASSENS & BIER
                                     her attorneys                  .




                                     Per
                                            One of their attorneys



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       Attorney for Plaintiff




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